             Exhibit D

Schedule of General Unsecured Claims
                                                       Exhibit D‐ General Unsecured Claims
  Wonderwork (1:16‐bk‐13607), Debtor
  Claimant                                           POC#      Description                                                                      RECOVERY 
  A. Arbitration/ Litigation Claims
  ‐ HelpMeSee, Inc.                                    17      Arbitration Award + related judgement costs                                   $16,054,348
                                                                                                                                             $16,054,348
  B. Impact Loan Claims
  ‐ Bill & Ann Ziff Foundation                       Sch E/F   Impact Loan, Scheduled, no POC filed.                                            $846,899
  ‐ Detter Family Foundation                         Sch E/F   Impact Loan, Scheduled, no POC filed.                                            $106,816
  ‐ Joseph Mullaney                                  Sch E/F   Loan, Scheduled, no POC filed.                                                   $110,562
  ‐ Meadowlark Foundation                            Sch E/F   Impact Loan, Scheduled, no POC filed.                                            $525,458
  ‐ Raphael & Diana Vinoly Foundation                Sch E/F   Impact Loan, Scheduled, no POC filed.                                             $60,153
  ‐ Thompson Family Foundation                         19      Impact Loan                                                                    $7,987,808
                                                                                                                                              $9,637,696
  C. Other General Unsecured Claims
  ‐ 1 West 34th Street                                  4      Goods Sold (Envelopes)                                                             $55,553
  ‐ 411 Fifth Avenue Associates                       11.02    Lease for Real Property                                                                 $0
  ‐ Action Mailers                                   Sch E/F   Services Rendered                                                                  $18,839
  ‐ American Express Bank, FSB                          7      Credit Card                                                                         $2,225
  ‐ Attorney General                                    18     Filed as Statutory Representative on Behalf of Charitable Beneficiaries                 $0
  ‐ Brian Mullaney                                     N/A     Unpaid salary and unreimbursed expenses, Scheduled, no POC filed.                 $628,470
  ‐ CDR Fundraising Group                            Sch E/F   Services Rendered                                                                  $48,750
  ‐ Cenveo                                              1      Goods Sold (Envelopes)                                                              $5,581
  ‐ Colortree Group                                     15     Goods (Printing Materials)                                                         $22,455
  ‐ Communications Corp of America                   Sch E/F   Services Rendered                                                                   $6,306
  ‐ Copilevitz & Canter, LLC                         Sch E/F   Services Rendered                                                                   $1,141
  ‐ Corporate Press                                      9     Printing and Mailing Services Provided                                              $7,379
  ‐ Corporate Press                                     20     Printing and Mailing Services Provided                                                  $0
  ‐ Development Resources, Inc.                      Sch E/F   Services Rendered                                                                  $10,000
  ‐ Direct Mail Processors                              21     Direct Mail Services                                                                $8,423
  ‐ DMI Data MGMT                                       12     Data Processing Services Performed                                                  $5,427
  ‐ IDMI                                             Sch E/F   Services Rendered                                                                   $1,629
  ‐ Internal Revenue Service                           8.02    Unpaid 2011 & 2016 Taxes                                                            $1,417
  ‐ Kaplan Kravet & Vogel PC                         Sch E/F   Services Rendered                                                                   $8,259
  ‐ Koala Design                                     Sch E/F   Services Rendered                                                                   $8,500
  ‐ L&E Meridan                                      Sch E/F   Services Rendered                                                                   $1,359
  ‐ Log‐On                                              14     Unpaid Invoices for Design Services                                                $48,334
  ‐ MDI Imaging & Mail, L.C.                             5     Printing and Mailing Services Provided                                              $5,076
  ‐ Nestle Pure Life Direct                          Sch E/F   Office Supplies                                                                        $22
  ‐ Nextiva                                          Sch E/F   Utilities                                                                             $528
  ‐ Resource One                                     Sch E/F   Services Rendered                                                                   $2,166
  ‐ Skyline Credit Ride, Inc.                        Sch E/F   Services Rendered                                                                      $43
  ‐ Tri‐State                                           16     Goods Sold (Envelopes)                                                              $6,052
  ‐ Union ID and Mail                                Sch E/F   Services Rendered                                                                   $3,171
  ‐ Valtim Marketing Solutions                          10     Mailing Services Provided                                                           $1,968
  ‐ Vanguard c/o Ascensus                               3      Recordkeeping services provided                                                       $783
  ‐ Wells Fargo Financial Leasing                        2     Office Equipment Lease (Kyocera Printer/Copier)                                         $0
  ‐ Worldwide Printing & Distribution                   13     Goods Sold (Printing and Direct Mail Materials)                                     $2,165
  ‐ XPO Logistics                                    Sch E/F   Services Rendered                                                                      $76
                                                                                                                                                 $912,097

                                                                                                            Total General Unsecured Claims   $26,604,141




                                                                       Privileged Confidential
Wonderwork Liquidation Analysis (06‐12) (EXHIBITS)                                                                                           3:30 PM : 6/15/2018
